     Case 1:04-cr-00006-MW-GRJ           Document 770        Filed 12/03/08      Page 1 of 2


                                                                                          Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:04-cr-00006-MP-AK

STEPHEN DUNLAP,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 766, Motion for Retroactive Application of

Sentencing Guidelines to Crack Cocaine Offense 18 U.S.C. § 3582 for Stephen Dunlap. In the

motion, Mr. Dunlap argues that "because the Court never made an explicit finding that he was

accountable for over 4.5 kilograms of cocaine base" and therefore his Guidelines Range should

be calculated as if he were held responsible for between 1.5 kilograms and 4.5 kilograms of

cocaine base.

       The Court did explicitly find, however, that Mr. Dunlap was responsible for more than

4.5 kilograms. In the sentencing hearing, the Court found the "presentence report to be

complete, true and accurate" (see Exhibit A to doc. 766, lines 6-7), and ¶ 52 of the Presentence

Report states

       Mr. Dunlap received 25 kilograms of cocaine from Cleveland Ferguson, which he
       cooked into cocaine base and distributed. Therefore, Mr. Dunlap is being held
       accountable for 22.25 kilograms of cocaine base.

       Even after Amendment 706 and 711, the amount of cocaine base attributed to Mr. Dunlap

qualifies him for the highest guidelines range of 38. Because the amendment does not lower the

guideline range applicable to this defendant, § 1B1.10(a)(1) does not permit the Court to reduce
     Case 1:04-cr-00006-MW-GRJ            Document 770       Filed 12/03/08   Page 2 of 2


                                                                                     Page 2 of 2


the original sentence.

        Accordingly it is hereby

        ORDERED AND ADJUDGED:

        1.       The motion at doc. 766 is denied.

        DONE AND ORDERED this 3rd day of December, 2008


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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